          Case 5:17-cv-00220-LHK    Document 145   Filed 07/10/17   Page 1 of 21




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16                            UNITED STATES DISTRICT COURT

17                         NORTHERN DISTRICT OF CALIFORNIA

18                                  SAN JOSE DIVISION

19   FEDERAL TRADE COMMISSION,                Case No. 5:17-cv-00220-LHK-NMC

20                     Plaintiff,
                                              DEFENDANT QUALCOMM
21               vs.                          INCORPORATED’S ANSWER TO
                                              PLAINTIFF FEDERAL TRADE
22   QUALCOMM INCORPORATED, a Delaware        COMMISSION’S COMPLAINT FOR
     corporation,
23                                            EQUITABLE RELIEF
                       Defendant.
24

25

26

27                                                                                 Answer
                                                          Case No. 5:17-CV-00220-LHK-NMC
28
           Case 5:17-cv-00220-LHK             Document 145       Filed 07/10/17      Page 2 of 21




 1                   Defendant Qualcomm Incorporated (“Qualcomm”), upon knowledge and/or upon

 2   information and belief, answers Plaintiff Federal Trade Commission’s Complaint for Equitable

 3   Relief (the “Complaint”), filed January 17, 2017, as follows. Unless otherwise stated,

 4   Qualcomm uses the defined terms and phrases set forth in the Complaint. In doing so, however,

 5   Qualcomm does not admit that the definitions set forth in the Complaint are proper.

 6           1.      Defendant denies the allegations set forth in paragraph 1 of the Complaint, except

 7   admits that Plaintiff purports to assert the claims described in paragraph 1.

 8           2.      Defendant denies the allegations set forth in paragraph 2 of the Complaint, except

 9   admits that (i) Qualcomm supplies baseband processors; (ii) Qualcomm licenses its patents,

10   many of which Qualcomm has disclosed as potentially essential to widely adopted cellular

11   standards; (iii) all cell phones and cellular-enabled tablets practice Qualcomm’s patents; and

12   (iv) Qualcomm has committed to certain standard-setting organizations (“SSOs”) responsible for

13   cellular standards that it will license its standard-essential patents consistent with SSOs’

14   intellectual property rights policies.

15           3.      Defendant denies the allegations set forth in paragraph 3 of the Complaint.

16           4.      Defendant denies the allegations set forth in paragraph 4 of the Complaint.

17           5.      Defendant denies the allegations set forth in paragraph 5 of the Complaint.

18           6.      Defendant denies the allegations set forth in paragraph 6 of the Complaint.

19           7.      Defendant denies the allegations set forth in paragraph 7 of the Complaint.

20           8.      Defendant denies the allegations set forth in paragraph 8 of the Complaint.

21           9.      Defendant denies the allegations set forth in paragraph 9 of the Complaint, except

22   admits that cellular technologies are expanding to new and varied applications.

23           10.     Defendant states that the allegations set forth in paragraph 10 of the Complaint

24   are a legal conclusion to which no response is required, except admits that this is a civil action

25   brought by an agency of the United States.

26           11.     Defendant admits the allegations set forth in paragraph 11 of the Complaint.

27
                                                                                                     Answer
                                                       1                    Case No. 5:17-CV-00220-LHK-NMC
28
           Case 5:17-cv-00220-LHK          Document 145         Filed 07/10/17     Page 3 of 21




 1          12.     Defendant denies the allegations set forth in paragraph 12 of the Complaint,

 2   except states that whether Qualcomm’s general business practices are activities in or affecting

 3   “commerce” within the meaning of Section 4 of the FTC Act, 15 U.S.C. § 44, is a legal

 4   conclusion to which no response is required.

 5          13.     Defendant admits the allegations set forth in paragraph 13 of the Complaint.

 6          14.     Defendant states that the allegations set forth in paragraph 14 of the Complaint

 7   are a legal conclusion to which no response is required, except admits that Qualcomm is

 8   headquartered in San Diego, California, and has offices in the Northern District of California.

 9          15.     Defendant states that the allegations set forth in paragraph 15 of the Complaint

10   are a legal conclusion to which no response is required, except admits that (i) Qualcomm is

11   headquartered in San Diego, California and has offices in Santa Clara, California and San Jose,

12   California; and (ii) at least one OEM and at least one Qualcomm competitor have offices in

13   Santa Clara County.

14          16.     Defendant admits the allegations set forth in paragraph 16 of the Complaint.

15          17.     Defendant denies the allegations set forth in paragraph 17 of the Complaint,

16   except admits and further states that (i) Qualcomm is a publicly traded, for-profit corporation,

17   incorporated under Delaware law, with its principal place of business in San Diego, California;

18   (ii) Qualcomm’s businesses involve the development and commercialization of digital

19   communications technologies; (iii) Qualcomm conducts business through reportable segments

20   including Qualcomm CDMA Technologies (“QCT”), which develops and supplies integrated

21   circuits and system software for use primarily in voice and data communications, and Qualcomm

22   Technology Licensing (“QTL”), which grants licenses or otherwise provides rights to use

23   portions of Qualcomm’s intellectual property portfolio; and (iv) on November 2, 2016,

24   Qualcomm filed its 2016 Form 10-K and refers to that document for its contents.

25          18.     Defendant admits the allegations set forth in paragraph 18 of the Complaint.

26          19.     Defendant admits the allegations set forth in the first sentence of paragraph 19 of

27
                                                                                                    Answer
                                                      2                    Case No. 5:17-CV-00220-LHK-NMC
28
           Case 5:17-cv-00220-LHK            Document 145       Filed 07/10/17      Page 4 of 21




 1   the Complaint.

 2                    a.     Defendant admits the allegations set forth in paragraph 19(a) of the

 3          Complaint.

 4                    b.     Defendant denies the allegations set forth in paragraph 19(b) of the

 5          Complaint, except admits that (i) 2G standards were first deployed commercially in the

 6          early 1990s and support encoding of voice calls; (ii) 2G cellular technology included the

 7          GSM standard and a 2G Code Division Multiple Access (“CDMA”) standard; and (iii) in

 8          the United States, AT&T and T-Mobile operate legacy GSM networks, while Verizon

 9          and Sprint operate legacy CDMA networks. Defendant further states that 2G standards

10          had multiple increasingly advanced iterations.

11                    c.     Defendant denies the allegations set forth in paragraph 19(c) of the

12          Complaint, except admits and further states that (i) 3G cellular standards were first

13          deployed commercially in the late 1990s and support higher data-transmission speeds

14          than 2G cellular standards; and (ii) 3G cellular technology included (x) the Universal

15          Mobile Telecommunications System (“UMTS”) standard, which implemented a CDMA-

16          based technology referred to as “wideband CDMA” or WCDMA, and (y) cdma2000.

17          Defendant further states that 3G standards had multiple increasingly advanced iterations.

18                    d.     Defendant denies the allegations set forth in paragraph 19(d) of the

19          Complaint, except admits that (i) “Long-Term Evolution” (“LTE”) was a 4G standard

20          first deployed commercially in late 2009 that supports higher data-transmission speeds

21          compared to 3G standards; and (ii) LTE is the leading 4G standard. Defendant further

22          states that the 4G LTE standard has had multiple increasingly advanced iterations.

23          20.       Defendant denies the allegations set forth in paragraph 20 of the Complaint,

24   except admits that a baseband processor performs a subset of the functions necessary for a

25   handset to communicate with an operator’s cellular network.

26          21.       Defendant denies the allegations set forth in paragraph 21 of the Complaint,

27
                                                                                                    Answer
                                                       3                   Case No. 5:17-CV-00220-LHK-NMC
28
             Case 5:17-cv-00220-LHK         Document 145         Filed 07/10/17      Page 5 of 21




 1   except admits that to communicate with a particular cellular network, the handset must contain a

 2   baseband processor that supports compliance of a complete device with the cellular

 3   communications standard that network utilizes.

 4           22.    Defendant denies the allegations set forth in paragraph 22 of the Complaint,

 5   except admits that baseband processors may be configured to support compliance of complete

 6   devices with more than one cellular communications standard.

 7           23.    Defendant denies the allegations set forth in paragraph 23 of the Complaint,

 8   except admits that (i) LTE network infrastructure has historically supported data transmissions

 9   rather than voice transmissions; and (ii) in areas where an operator has not yet deployed

10   sufficient LTE network infrastructure, communications on that operator’s network might be

11   possible using 2G or 3G cellular standards.

12           24.    Defendant denies the allegations set forth in paragraph 24 of the Complaint,

13   except admits that (i) certain carriers have at different times deployed networks implementing

14   the 2G CDMA and cdma2000 standards, including Verizon and Sprint in the United States; and

15   (ii) handsets that operate on these networks require baseband processors that support compliance

16   of a complete device with these standards.

17           25.    Defendant denies the allegations set forth in paragraph 25 of the Complaint,

18   except admits that smartphones that provide advanced computing capabilities are alternatives to

19   feature phones that do not offer such capabilities.

20           26.    Defendant denies the allegations set forth in paragraph 26 of the Complaint,

21   except admits that (i) smartphones generally include features such as cameras, high-resolution

22   touch-screen displays, applications processors, graphics processors, memory and storage; and

23   (ii) smartphones typically offer consumers connectivity over cellular and Wi-Fi networks.

24   Defendant states that it is without knowledge or information sufficient to form a belief as to the

25   truth of the allegations set forth in the third sentence of paragraph 26, and on that basis denies

26   them.

27
                                                                                                     Answer
                                                       4                    Case No. 5:17-CV-00220-LHK-NMC
28
             Case 5:17-cv-00220-LHK         Document 145         Filed 07/10/17      Page 6 of 21




 1           27.    Defendant states that it is without knowledge or information sufficient to form a

 2   belief as to the truth of the allegations in paragraph 27 of the Complaint, and on that basis denies

 3   them, except admits that flagship handsets typically include more advanced features and

 4   technologies than less expensive handsets from the same OEM.

 5           28.    Defendant states that it is without knowledge or information sufficient to form a

 6   belief as to the truth of the allegations in paragraph 28 of the Complaint, and on that basis denies

 7   them.

 8           29.    Defendant denies the allegations set forth in paragraph 29 of the Complaint,

 9   except admits that in recent years, average selling prices for handsets in North America have

10   been higher than the global average, and states that it is without knowledge or information

11   sufficient to form a belief as to the truth of the allegation in paragraph 29 concerning the relative

12   importance of the United States to OEMs, and on that basis denies it.

13           30.    Defendant admits the allegations set forth in paragraph 30 of the Complaint.

14           31.    Defendant denies the allegations set forth in paragraph 31 of the Complaint,

15   except admits that Qualcomm supplies baseband processors that support compliance of complete

16   devices with, among others, CDMA and LTE standards.

17           32.    Defendant denies the allegations set forth in paragraph 32 of the Complaint,

18   except admits that (i) certain carriers have at different times deployed networks implementing

19   the 2G CDMA and cdma2000 standards, including Verizon and Sprint in the United States; and

20   (ii) handsets that operate on these networks require baseband processors that support compliance

21   of complete devices with these standards.

22           33.    Defendant denies the allegations set forth in paragraph 32 of the Complaint,

23   except admits that Qualcomm has supplied baseband processors that support compliance of

24   complete devices with the 2G CDMA and cdma2000 standards.

25           34.    Defendant denies the allegations set forth in paragraph 34 of the Complaint,

26   except admits that (i) Via is a Taiwan-based semiconductor company; (ii) Via has offered

27
                                                                                                     Answer
                                                       5                    Case No. 5:17-CV-00220-LHK-NMC
28
           Case 5:17-cv-00220-LHK           Document 145        Filed 07/10/17      Page 7 of 21




 1   baseband processors that support compliance of complete devices with the 2G CDMA or

 2   cdma2000 standards; and (iii) in 2015, Intel Corporation has announced that it acquired certain

 3   CDMA-related assets from Via.

 4          35.     Defendant denies the allegations set forth in paragraph 35 of the Complaint,

 5   except admits that (i) MediaTek is a Taiwan-based semiconductor company; and (ii) MediaTek

 6   offers baseband processors that support compliance of complete devices with the 2G CDMA and

 7   cdma2000 standards; and states that it is without knowledge or information sufficient to form a

 8   belief as to the truth of the allegation concerning (i) whether and/or when MediaTek licensed

 9   technology from Via; and (ii) the size of MediaTek’s sales of modem chips that comply with the

10   2G CDMA and cdma2000 standards, and on that basis denies them.

11          36.     Defendant denies the allegations set forth in paragraph 36 of the Complaint,

12   except admits that (i) an email string referenced in the first sentence of paragraph 36 exists and

13   refers to the referenced document for its contents; and (ii) admits that an email string referenced

14   in the second sentence of paragraph 36 exists and refers to the referenced document for its

15   contents.

16          37.     Defendant denies the allegations set forth in paragraph 37 of the Complaint.

17          38.     Defendant denies the allegations set forth in paragraph 38 of the Complaint,

18   except admits that Verizon, AT&T, T-Mobile and Sprint have deployed cellular networks that

19   implement some LTE standards.

20          39.     Defendant admits the allegations set forth in the first and second sentences of

21   paragraph 39 of the Complaint. Defendant denies the allegations in the third sentence of

22   paragraph 39 of the Complaint, except admits that (i) each category of LTE has defined peak

23   uplink and downlink speeds; (ii) Category 1 supports downlink speeds of 10 megabits per second

24   (Mbps) and uplink speeds of 5 Mbps; (iii) Category 6 supports downlink speeds of 300 Mbps

25   and uplink speeds of 50 Mbps; and (iv) Category 12 supports downlink speeds of 600 Mbps and

26   uplink speeds of 100 Mbps.

27
                                                                                                    Answer
                                                       6                   Case No. 5:17-CV-00220-LHK-NMC
28
           Case 5:17-cv-00220-LHK            Document 145         Filed 07/10/17       Page 8 of 21




 1           40.     Defendant denies the allegations set forth in paragraph 40 of the Complaint,

 2   except admits that there are LTE baseband processors that support complete devices capable of

 3   varying data download and upload speeds, carrier aggregation, MIMO, or advanced power

 4   saving features.

 5           41.     Defendant denies the allegations set forth in paragraph 41 of the Complaint.

 6           42.     Defendant denies the allegations set forth in paragraph 42 of the Complaint.

 7           43.     Defendant denies the allegations set forth in paragraph 43 of the Complaint,

 8   except admits that on November 2, 2016, Qualcomm filed its 2016 Form 10-K, and refers to that

 9   document for its contents.

10           44.     Defendant denies the allegations set forth in paragraph 44 of the Complaint,

11   except admits that Qualcomm has supplied baseband processors that support compliance of

12   complete devices with the LTE standard.

13           45.     Defendant denies the allegations set forth in paragraph 45 of the Complaint,

14   except admits that (i) other manufacturers have offered baseband processors that support

15   compliance of complete devices with the LTE standard, including MediaTek, Intel, Spreadtrum,

16   Samsung and Huawei; (ii) Intel supplies baseband processors that support compliance of

17   complete devices with the LTE standard and are used in certain Apple iPhone 7 devices; and

18   (iii) Samsung and Huawei have self-supplied baseband processors for certain Samsung and

19   Huawei LTE handsets, respectively.

20           46.     Defendant denies the allegations set forth in paragraph 46 of the Complaint,

21   except admits that the email string referenced in the second and third sentences of paragraph 46

22   exists and refers to that email string for its contents; and (ii) the email string referenced in the

23   fourth sentence of paragraph 46 exists and refers to that email string for its contents.

24           47.     Defendant denies the allegations set forth in paragraph 47 of the Complaint.

25           48.     Defendant admits the allegations set forth in the first sentence of paragraph 48 of

26   the Complaint. Defendant denies the allegations in the second and third sentences of paragraph

27
                                                                                                       Answer
                                                        7                     Case No. 5:17-CV-00220-LHK-NMC
28
           Case 5:17-cv-00220-LHK           Document 145         Filed 07/10/17       Page 9 of 21




 1   48 of the Complaint, except admits that the cellular standardization process involves a variety of

 2   industry participants and that standardization can provide important benefits.

 3          49.     Defendant denies the allegations set forth in paragraph 49 of the Complaint,

 4   except admits that SSOs’ participants may hold patents covering standardized technologies, and

 5   states that SSOs often develop intellectual property rights policies related to the disclosure and

 6   licensing of SEPs and refers to those policies for their contents.

 7          50.     Defendant denies the allegations set forth in paragraph 50 of the Complaint,

 8   except states that SSOs often develop intellectual property rights policies related to the licensing

 9   of SEPs and refers to those policies for their contents.

10          51.     Defendant admits the allegations set forth in the first sentence of paragraph 51 of

11   the Complaint. Defendant denies the allegations in the second and third sentences of paragraph

12   51 of the Complaint. Defendant states that SSOs often develop intellectual property rights

13   policies related to the licensing of SEPs and refers to those policies for their contents.

14          52.     Defendant denies the allegations set forth in paragraph 52 of the Complaint,

15   except admits that (i) ETSI, TIA and ATIS are among the SSOs that have adopted cellular

16   telecommunications standards; (ii) 3GPP has published specifications related to GSM, WCDMA,

17   and LTE standards; and (iii) 3GPP2 has published specifications related to 2G CDMA and

18   cdma2000 standards.

19          53.     Defendant denies the allegations set forth in paragraph 53 of the Complaint.

20          54.     Defendant denies the allegations set forth in paragraph 54 of the Complaint,

21   except admits that (i) Qualcomm has participated in the cellular standard-setting processes

22   through ETSI, TIA and ATIS and has participated in 3GPP and 3GPP2; (ii) Qualcomm was a

23   leading developer and proponent of CDMA technology, which underlies the 2G CDMA and

24   cdma2000 standards; and (iii) Qualcomm has disclosed patents as potentially essential to the 2G

25   CDMA standard.

26          55.     Defendant denies the allegations set forth in paragraph 55 of the Complaint,

27
                                                                                                      Answer
                                                        8                    Case No. 5:17-CV-00220-LHK-NMC
28
          Case 5:17-cv-00220-LHK            Document 145         Filed 07/10/17      Page 10 of 21




 1   except admits that (i) Qualcomm has participated in standard-setting processes for 3G; and

 2   (ii) Qualcomm has disclosed patents as potentially essential to the WCDMA and cdma2000

 3   standards.

 4          56.     Defendant denies the allegations set forth in paragraph 56 of the Complaint,

 5   except admits that (i) Qualcomm introduced a potential 4G technology called Ultra Mobile

 6   Broadband; (ii) Qualcomm supported and contributed to the development of LTE standards; and

 7   (iii) Qualcomm has disclosed patents as potentially essential to the LTE standard. Defendant

 8   states that it is without knowledge or information sufficient to form a belief as to the truth of the

 9   allegations set forth in the fourth sentence of paragraph 56 of the Complaint, and on that basis

10   denies them.

11          57.     Defendant denies the allegations set forth in paragraph 57 of the Complaint,

12   except admits that Qualcomm has committed to certain SSOs that promulgate cellular standards

13   that it will license its standard-essential patents consistent with the respective SSOs’ intellectual

14   property rights policy.

15          58.     Defendant denies the allegations set forth in paragraph 58 of the Complaint,

16   except admits that Qualcomm has licensed its cellular SEPs to many OEMs, and refers to the

17   terms of the relevant license agreements for their contents.

18          59.     Defendant denies the allegations set forth in paragraph 59 of the Complaint.

19          60.     Defendant denies the allegations set forth in paragraph 60 of the Complaint,

20   except admits that the document referenced in the third sentence of paragraph 60 exists and

21   refers to that document for its contents.

22          61.     Defendant denies the allegations set forth in paragraph 61 of the Complaint.

23          62.     Defendant denies the allegations set forth in paragraph 62 of the Complaint,

24   except admits that Qualcomm enters into supply agreements with OEMs that purchase baseband

25   processors from Qualcomm and refers to those agreements for their contents.

26          63.     Defendant denies the allegations set forth in paragraph 63 of the Complaint.

27
                                                                                                      Answer
                                                        9                    Case No. 5:17-CV-00220-LHK-NMC
28
          Case 5:17-cv-00220-LHK            Document 145        Filed 07/10/17       Page 11 of 21




 1          64.     Defendant states that it is without knowledge or information sufficient to form a

 2   belief as to the truth of the allegations set forth in paragraph 65 of the Complaint, and on that

 3   basis denies them.

 4          65.     Defendant states that it is without knowledge or information sufficient to form a

 5   belief as to the truth of the allegations set forth in paragraph 65 of the Complaint, and on that

 6   basis denies them.

 7          66.     Defendant states that the allegations set forth in paragraph 66 are a legal

 8   conclusion to which no response is required. To the extent a response is required, Defendant

 9   denies the allegations set forth in paragraph 66 of the Complaint, except admits that the doctrine

10   of patent exhaustion exists under the laws of the United States.

11          67.     Defendant states that the allegations set forth in paragraph 66 are a legal

12   conclusion to which no response is required. To the extent a response is required, Defendant

13   states that it is without knowledge or information sufficient to form a belief as to the truth of the

14   allegations set forth in paragraph 67 of the Complaint, and on that basis denies them.

15          68.     Defendant states that it is without knowledge or information sufficient to form a

16   belief as to the truth of the allegations set forth in paragraph 68 of the Complaint, and on that

17   basis denies them.

18          69.     Defendant denies the allegations set forth in paragraph 69 of the Complaint.

19          70.     Defendant denies the allegations set forth in paragraph 70 of the Complaint.

20          71.     Defendant denies the allegations set forth in paragraph 71 of the Complaint,

21   except admits that the district court opinions cited in paragraph 71 exist, and refers to those

22   opinions for their contents.

23          72.     Defendant denies the allegations set forth in paragraph 72 of the Complaint.

24          73.     Defendant denies the allegations set forth in paragraph 73 of the Complaint.

25          74.     Defendant denies the allegations set forth in paragraph 74 of the Complaint.

26          75.     Defendant denies the allegations set forth in paragraph 75 of the Complaint.

27
                                                                                                      Answer
                                                       10                    Case No. 5:17-CV-00220-LHK-NMC
28
          Case 5:17-cv-00220-LHK           Document 145        Filed 07/10/17     Page 12 of 21




 1          76.     Defendant denies the allegations set forth in paragraph 76 of the Complaint.

 2          77.     Defendant denies the allegations set forth in paragraph 77 of the Complaint,

 3   except as stated below:

 4                  a.      Defendant denies the allegations set forth in paragraph 77(a) of the

 5          Complaint.

 6                  b.      Defendant denies the allegations set forth in paragraph 77(b) of the

 7          Complaint, except refers to its license agreements with OEMs for their contents.

 8                  c.      Defendant denies the allegations set forth in paragraph 77(c) of the

 9          Complaint, except refers to its license agreements with OEMs for their contents and to

10          patent offices such as the United States Patent and Trademark Office for the number and

11          content of its patents.

12                  d.      Defendant denies the allegations set forth in paragraph 77(d) of the

13          Complaint, except refers to its license agreements with OEMs for their contents.

14          78.     Defendant denies the allegations set forth in paragraph 78 of the Complaint.

15          79.     Defendant denies the allegations set forth in paragraph 79 of the Complaint.

16          80.     Defendant denies the allegations set forth in paragraph 80 of the Complaint.

17          81.     Defendant denies the allegations set forth in paragraph 81 of the Complaint.

18          82.     Defendant denies the allegations set forth in paragraph 82 of the Complaint,

19   except admits that Qualcomm enters into supply agreements with OEMs who purchase baseband

20   processors from Qualcomm, and refers to those agreements for their contents.

21          83.     Defendant denies the allegations set forth in paragraph 83 of the Complaint.

22          84.     Defendant denies the allegations set forth in paragraph 84 of the Complaint.

23          85.     Defendant denies the allegations set forth in paragraph 85 of the Complaint,

24   except admits that email strings containing the language quoted in paragraph 85 exist and refers

25   to those documents for their contents.

26          86.     Defendant denies the allegations set forth in paragraph 86 of the Complaint.

27
                                                                                                   Answer
                                                     11                   Case No. 5:17-CV-00220-LHK-NMC
28
           Case 5:17-cv-00220-LHK          Document 145          Filed 07/10/17    Page 13 of 21




 1           87.     Defendant denies the allegations set forth in paragraph 87 of the Complaint.

 2           88.     Defendant denies the allegations set forth in paragraph 88 of the Complaint.

 3           89.     Defendant denies the allegations set forth in paragraph 89 of the Complaint.

 4           90.     Defendant denies the allegations set forth in paragraph 90 of the Complaint.

 5           91.     Defendant denies the allegations set forth in paragraph 91 of the Complaint.

 6           92.     Defendant denies the allegations set forth in paragraph 92 of the Complaint.

 7           93.     Defendant denies the allegations set forth in paragraph 93 of the Complaint.

 8           94.     Defendant denies the allegations set forth in paragraph 94 of the Complaint.

 9           95.     Defendant denies the allegations set forth in paragraph 95 of the Complaint.

10           96.     Defendant denies the allegations set forth in paragraph 96 of the Complaint.

11           97.     Defendant denies the allegations set forth in paragraph 97 of the Complaint,

12   except admits that a document, dated June 2015, referenced in paragraph 97 exists, and refers to

13   the referenced document for its contents.

14           98.     Defendant denies the allegations set forth in paragraph 98 of the Complaint,

15   except admits that a document, dated June 2015, referenced in paragraph 98 exists, and refers to

16   the referenced document for its contents.

17           99.     Defendant denies the allegations set forth in paragraph 99 of the Complaint,

18   except admits that, beginning in late 2014, Qualcomm engaged in a high-level review to consider

19   strategic options, including whether to separate Qualcomm’s chip and licensing divisions into

20   separate companies.

21           100.    Defendant denies the allegations set forth in paragraph 100 of the Complaint,

22   except admits that the document referenced in paragraph 100 exists, and refers to that document

23   for its contents.

24           101.    Defendant denies the allegations set forth in paragraph 101 of the Complaint,

25   except admits that on December 16, 2015, Qualcomm announced the completion of its strategic

26   review, and refers to that announcement for its contents.

27
                                                                                                    Answer
                                                     12                    Case No. 5:17-CV-00220-LHK-NMC
28
          Case 5:17-cv-00220-LHK          Document 145        Filed 07/10/17         Page 14 of 21




 1          102.    Defendant denies the allegations set forth in paragraph 102 of the Complaint.

 2          103.    Defendant denies the allegations set forth in paragraph 103 of the Complaint,

 3   except admits that it has offered to certain OEMs funds to be used for strategic or marketing

 4   purposes (“strategic funds”) that in some cases have accrued based on OEMs’ purchase of

 5   Qualcomm’s baseband processors.

 6          104.    Defendant denies the allegations set forth in paragraph 104 of the Complaint.

 7          105.    Defendant denies the allegations set forth in paragraph 105 of the Complaint,

 8   except admits that Qualcomm has accounted for its strategic funds in compliance with generally

 9   accepted accounting principles.

10          106.    Defendant denies the allegations set forth in paragraph 106 of the Complaint.

11          107.    Defendant denies the allegations set forth in paragraph 107 of the Complaint,

12   except admits that ETSI, TIA and ATIS have intellectual property rights policies.

13          108.    Defendant denies the allegations set forth in paragraph 108 of the Complaint.

14          109.    Defendant denies the allegations set forth in paragraph 109 of the Complaint,

15   except admits that on October 6, 1998, Qualcomm filed a Motion for Partial Summary Judgment

16   in Ericsson Inc. v. Qualcomm Inc., No. 96-cv-183 (E.D. Tex. 1996) referenced in the second

17   sentence of paragraph 109, and refers to that document for its contents.

18          110.    Defendant denies the allegations set forth in paragraph 110 of the Complaint,

19   except admits that on November 2, 2016, Qualcomm filed its 2016 Form 10-K, and refers to that

20   document for its contents.

21          111.    Defendant denies the allegations set forth in paragraph 111 of the Complaint,

22   except refers to its license agreements with OEMs for their contents.

23          112.    Defendant denies the allegations set forth in paragraph 112 of the Complaint,

24   except admits that (i) Intel and MediaTek previously have sought a license from Qualcomm to

25   manufacture and sell baseband processors; (ii) Samsung has previously sought a patent

26   agreement from Qualcomm to manufacture and sell baseband processors; and (iii) Qualcomm

27
                                                                                                      Answer
                                                     13                      Case No. 5:17-CV-00220-LHK-NMC
28
          Case 5:17-cv-00220-LHK           Document 145         Filed 07/10/17      Page 15 of 21




 1   has not entered into an exhaustive license agreement with Intel, MediaTek or Samsung to make

 2   and sell baseband processors.

 3          113.    Defendant denies the allegations set forth in paragraph 113 of the Complaint.

 4          114.    Defendant denies the allegations set forth in paragraph 114 of the Complaint,

 5   except admits that some modem chip suppliers that compete with Qualcomm do not purchase

 6   baseband processors from Qualcomm.

 7          115.    Defendant denies the allegations set forth in paragraph 115 of the Complaint.

 8          116.    Defendant denies the allegations set forth in paragraph 116 of the Complaint.

 9          117.    Defendant denies the allegations set forth in paragraph 117 of the Complaint,

10   except admits that (i) Apple is not a direct Qualcomm licensee; (ii) Apple employs contract

11   manufacturers; and (iii) at least some of Apple’s contract manufacturers are Qualcomm

12   licensees; and states that it is without knowledge or information sufficient to form a belief as to

13   the truth of the allegations regarding the precise contractual arrangements between Apple and its

14   contract manufacturers, and on that basis denies them.

15          118.    Defendant denies the allegations set forth in paragraph 118 of the Complaint,

16   except admits that Apple has filed a complaint in Apple Inc. v. Qualcomm Incorporated, No. 17-

17   cv-0108 (S.D. Cal. 2017), in which Apple alleges that Qualcomm has not complied with its

18   FRAND commitments.

19          119.    Defendant denies the allegations set forth in paragraph 119 of the Complaint,

20   except admits that Qualcomm and Apple entered into agreements in 2007, 2011 and 2013, and

21   refers to those agreements for their contents.

22          120.    Defendant denies the allegations set forth in paragraph 120 of the Complaint,

23   except admits that Qualcomm entered into the Marketing Incentive Agreement with Apple, with

24   an effective date of January 8, 2007, and refers to that agreement for its contents.

25          121.    Defendant denies the allegations set forth in paragraph 121 of the Complaint,

26   except admits that Qualcomm entered into the Transition Agreement, with an effective date of

27
                                                                                                     Answer
                                                      14                    Case No. 5:17-CV-00220-LHK-NMC
28
          Case 5:17-cv-00220-LHK            Document 145        Filed 07/10/17       Page 16 of 21




 1   February 11, 2011, and the First Amendment to the Transition Agreement, with an effective date

 2   of January 1, 2013, with Apple, and refers to those agreements for their contents.

 3          122.      Defendant denies the allegations set forth in paragraph 122 of the Complaint,

 4   except admits that Qualcomm entered into the Transition Agreement, with an effective date of

 5   February 11, 2011, with Apple, and refers to that agreement for its contents.

 6          123.      Defendant denies the allegations set forth in paragraph 123 of the Complaint,

 7   except admits that Qualcomm entered into the First Amendment to the Transition Agreement,

 8   with an effective date of January 1, 2013, and the Business Cooperation and Patent Agreement,

 9   with an effective date of January 1, 2013, with Apple, and refers to those agreements for their

10   contents.

11          124.      Defendant denies the allegations set forth in paragraph 124 of the Complaint,

12   except admits that Qualcomm entered into the Transition Agreement, with an effective date of

13   February 11, 2011, the First Amendment to the Transition Agreement, with an effective date of

14   January 1, 2013, and the Business Cooperation and Patent Agreement, with an effective date of

15   January 1, 2013, with Apple, and refers to those agreements for their contents.

16          125.      Defendant denies the allegations set forth in paragraph 125 of the Complaint and

17   further avers:

18                    a.     Defendant denies the allegations set forth in paragraph 125(a) of the

19          Complaint.

20                    b.     Defendant denies the allegations set forth in paragraph 125(b) of the

21          Complaint.

22                    c.     Defendant states that the allegations set forth in paragraph 125(c) of the

23          Complaint are a legal conclusion to which no response is required. To the extent that a

24          response is required, Defendant denies the allegations set forth in paragraph 125(c) of the

25          Complaint.

26          126.      Defendant denies the allegations set forth in paragraph 126 of the Complaint,

27
                                                                                                     Answer
                                                       15                   Case No. 5:17-CV-00220-LHK-NMC
28
          Case 5:17-cv-00220-LHK           Document 145         Filed 07/10/17      Page 17 of 21




 1   except admits that Apple sourced baseband processors exclusively from Qualcomm for certain

 2   iPhone and iPad products.

 3          127.    Defendant denies the allegations set forth in paragraph 127 of the Complaint.

 4          128.    Defendant denies the allegations set forth in paragraph 128 of the Complaint.

 5          129.    Defendant denies the allegations set forth in paragraph 129 of the Complaint,

 6   except as stated below:

 7                  a.      Defendant denies the allegations set forth in paragraph 129(a) of the

 8          Complaint, except admits that Apple sells large volumes of handsets.

 9                  b.      Defendant denies the allegations set forth in paragraph 129(b) of the

10          Complaint.

11                  c.      Defendant denies the allegations set forth in paragraph 129(c) of the

12          Complaint.

13                  d.      Defendant states that it is without knowledge or information sufficient to

14          form a belief as to the truth of the allegations set forth in paragraph 129(d) of the

15          Complaint, and on that basis denies them.

16                  e.      Defendant denies the allegations set forth in paragraph 129(e) of the

17          Complaint.

18          130.    Defendant denies the allegations set forth in paragraph 130 of the Complaint.

19          131.    Defendant denies the allegations set forth in paragraph 131 of the Complaint.

20          132.    Defendant states that the second sentence of paragraph 132 of the Complaint is a

21   legal conclusion to which no response is required; to the extent a response is required,

22   Qualcomm denies the allegations set forth in the second sentence of paragraph 132 of the

23   Complaint. Defendant denies the remaining allegations set forth in paragraph 132 of the

24   Complaint.

25          133.    Defendant denies the allegations set forth in paragraph 133 of the Complaint.

26          134.    Defendant denies the allegations set forth in paragraph 134 of the Complaint.

27
                                                                                                     Answer
                                                      16                    Case No. 5:17-CV-00220-LHK-NMC
28
          Case 5:17-cv-00220-LHK            Document 145       Filed 07/10/17       Page 18 of 21




 1          135.    Defendant states that the allegations set forth in paragraph 135 of the Complaint

 2   state a legal conclusion to which no response is required; to the extent a response is required,

 3   Qualcomm admits the allegations set forth in paragraph 135 of the Complaint.

 4          136.    Defendant denies the allegations set forth in paragraph 136 of the Complaint.

 5          137.    Defendant denies the allegations set forth in paragraph 137 of the Complaint.

 6          138.    Defendant denies the allegations set forth in paragraph 138 of the Complaint.

 7          139.    Defendant denies the allegations set forth in paragraph 139 of the Complaint,

 8   except admits that certain former modem chip suppliers have sold or exited their modem chip

 9   supply businesses and that Intel and MediaTek, among others, continue to compete against

10   Qualcomm for the sale of baseband processors.

11          140.    Defendant states that the allegations set forth in paragraph 140 are hypothetical

12   allegations to which no response is required; to the extent a response is required, Qualcomm

13   denies the allegations set forth in paragraph 140 of the Complaint.

14          141.    Defendant states that it is without knowledge or information sufficient to form a

15   belief as to the truth of the allegations in paragraph 141 of the Complaint, and on that basis

16   denies them, except admits that competition (among other things) drives Qualcomm to innovate.

17          142.    Defendant denies the allegations set forth in paragraph 142 of the Complaint,

18   except admits that innovation in mobile technologies offers substantial consumer benefits.

19          143.    Defendant denies the allegations set forth in paragraph 143 of the Complaint,

20   except admits that (i) Qualcomm is entitled to compensation when others practice its patented

21   inventions; and (ii) the prospect of fair compensation induces risk taking that produces

22   innovation and economic growth.

23          144.    Defendant denies the allegations set forth in paragraph 144 of the Complaint.

24          145.    Defendant denies the allegations set forth in paragraph 145 of the Complaint.

25          146.    Defendant repeats and incorporates by reference its answer to paragraphs 1-145 of

26   the Complaint as if fully set forth herein.

27
                                                                                                     Answer
                                                      17                    Case No. 5:17-CV-00220-LHK-NMC
28
          Case 5:17-cv-00220-LHK           Document 145         Filed 07/10/17     Page 19 of 21




 1          147.    Defendant denies the allegations set forth in paragraphs 147, 147(a), 147(b) and

 2   147(c) of the Complaint.

 3          148.    Defendant denies the allegations set forth in paragraph 148 of the Complaint,

 4   except admits that Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to issue

 5   permanent injunctions against violations of the FTC Act.

 6                                       PRAYER FOR RELIEF
 7                  Defendant states that the unnumbered wherefore clause and the paragraphs
 8   following paragraph 148 of the Complaint are a prayer for relief to which no response is
 9   required. Defendant avers, however, that Plaintiff is entitled to no relief, and that judgment

10   should be entered in Defendant’s favor on all Counts of the Complaint.
11                              AFFIRMATIVE AND OTHER DEFENSES
12          Qualcomm asserts the following affirmative and other defenses. In asserting these

13   defenses, Qualcomm does not assume the burden with respect to any issue as to which applicable

14   law places the burden on the Plaintiff.

15          Qualcomm reserves the right to assert additional defenses, as warranted by facts learned

16   through investigation and discovery, and expressly reserves the right to amend its answer to

17   assert such additional defenses.

18                                              First Defense
19          The Complaint, and each and every claim stated therein, fails to state a claim on which

20   relief can be granted.

21                                             Second Defense
22          The FTC’s claims are barred in whole or in part because Qualcomm’s alleged conduct

23   did not lead to the acquisition or maintenance of monopoly power and was lawful, pro-

24   competitive, and based on legitimate business and economic justifications.

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27
                                                                                                    Answer
                                                      18                   Case No. 5:17-CV-00220-LHK-NMC
28
          Case 5:17-cv-00220-LHK             Document 145       Filed 07/10/17     Page 20 of 21




 1                                             Third Defense
 2          The FTC’s claims are barred in whole or in part because Qualcomm’s alleged conduct
 3   did not unreasonably restrain trade and was lawful, pro-competitive, and based on legitimate
 4   business and economic justifications.

 5                                             Fourth Defense
 6          The FTC’s claims are barred in whole or in part because Qualcomm’s alleged conduct

 7   has not harmed competition or the competitive process, and was lawful, pro-competitive, and

 8   based on legitimate business and economic justifications.

 9                                              Fifth Defense
10          The FTC’s claims are barred in whole or in part because its complaint fails to allege any
11   legally cognizable product market.
12                                              Sixth Defense
13          The FTC is not entitled to injunctive relief on conduct that occurred solely in the past.
14                                             Seventh Defense
15          The contemplated relief would not be in the public interest because it would, among other
16   things, harm consumers.
17                                             Eighth Defense
18          Section 5 of the FTC Act does not prohibit any conduct that is not also prohibited by the
19   Sherman Act.

20                                              Ninth Defense
21          Any requested relief that would apply to the licensing of patents issued by a jurisdiction

22   other than the United States would be barred as beyond the reach of the U.S. antitrust laws,

23   including the FTC Act, and/or as an improper application of those laws due to principles of

24   international comity.

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27
                                                                                                    Answer
                                                     19                    Case No. 5:17-CV-00220-LHK-NMC
28
          Case 5:17-cv-00220-LHK   Document 145    Filed 07/10/17     Page 21 of 21




 1   Dated: July 10, 2017

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27
                                                                                       Answer
                                           20                 Case No. 5:17-CV-00220-LHK-NMC
28
